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                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA

                                         CIVIL MINUTES - GENERAL


Case No.      CV 16-08403-CBM (SSx)                                         Date    July 31, 2018
Title     Allergan, Inc. v. Amazon Medica et al.


Present: The Honorable           CONSUELO B. MARSHALL, UNITED STATES DISTRICT JUDGE


                 Patricia Gomez.                                               Alex Joko
                  Deputy Clerk                                               Court Reporter


            Attorneys Present for Plaintiffs:                      Attorneys Present for Defendants:
                       Jared Greenberg                                      No Appearance


Proceedings:      PLAINTIFF'S MOTION FOR DEFAULT JUDGMENT AND PERMANENT
                  INJUNCTION [33]


              The case is called and counsel state their appearance. The Court and counsel confer.
        The Court GRANTS the Motion.




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        CV-90 (2/10)                            CIVIL MINUTES - GENERAL   Initials of Deputy Clerk PG
